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 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,
12               Plaintiff,                 No. 2:08-cr-0093 FCD
13        v.
14   CHARLES HEAD, et al.,                  RELATED CASE ORDER
15             Defendant.
     ___________________________/
16   UNITED STATES OF AMERICA,
17               Plaintiff,                 No. 2:08-cr-0116 LKK
18        v.
19   CHARLES HEAD, et al.,
20             Defendant.
     ____________________________/
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22        Examination of the above-entitled actions reveals that they
23   are related within the meaning of Local Rule 83-123(a) (E.D. Cal.
24   1997).    The actions involve many of the same defendants and are
25   based on the same or similar claims, the same property
26   transaction or event, similar questions of fact and the same
27   questions of law, and would therefore entail a substantial
28   duplication of labor if heard by different judges.         Accordingly,
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 1   the assignment of the matters to the same judge is likely to
 2   effect a substantial savings of judicial effort and is also
 3   likely to be convenient for the parties.
 4        The parties should be aware that relating the cases under
 5   Local Rule 83-123 merely has the result that these actions are
 6   assigned to the same judge; no consolidation of the actions is
 7   effected.   Under the regular practice of this court, related
 8   cases are generally assigned to the judge and magistrate judge to
 9   whom the first filed action was assigned.
10        IT IS THEREFORE ORDERED that the action denominated,
11   2:08-cr-0116 LKK is reassigned to Judge Frank C. Damrell, Jr. for
12   all further proceedings, and any dates currently set in the
13   reassigned case only are hereby VACATED.        Henceforth, the caption
14   on documents filed in the reassigned case shall be shown as,
15   2:08-cr-0116 FCD.
16        IT IS FURTHER ORDERED that the Clerk of Court make
17   appropriate adjustment in the assignment of criminal cases to
18   compensate for this reassignment.
19        IT IS SO ORDERED.
20   DATED: April 8, 2008
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22                                _______________________________________
23                                FRANK C. DAMRELL, JR.
                                  UNITED STATES DISTRICT JUDGE
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